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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                        §
  ASTRALABS INC                                 §
        DEBTOR                                  §    BANKRUPTCY CASE NO. 23-10164

                        DEBTOR’S SUPPLEMENTAL WITNESS LIST

    Final Hearing on ASTRALABS INC’s Motion for Authority to Use Cash Collateral, Motion to
   Pay Pre-Petition Wages and Motion for Authorization of Payment of Certain Pre-Petition Claims
                                and Designating Critical Vendors

                                    April 20, 2023 at 9:30 AM

  Witness List:
        1. Jack Cartwright
            Representative of ASTRALABS INC

         2. Luke Marek
            Representative of ASTRALABS INC


                                                     Respectfully submitted,

                                                     THE LANE LAW FIRM, PLLC
                                                     /s/Robert C. Lane
                                                     Robert C. Lane
                                                     State Bar No. 24046263
                                                     notifications@lanelaw.com
                                                     Joshua D. Gordon
                                                     State Bar No. 24091592
                                                     Joshua.gordon@lanelaw.com
                                                     6200 Savoy, Suite 1150
                                                     Houston, Texas 77036
                                                     (713) 595-8200 Voice
                                                     (713) 595-8201 Facsimile
                                                     PROPOSED COUNSEL FOR DEBTOR
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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the Supplemental Witness List with exhibits
  was served upon the US Trustee and to the parties listed on the service list below either via
  electronic notice by the court’s ECF noticing system or by United States first class mail, postage
  prepaid, on April 18, 2023:

  Debtor:
  ASTRALABS INC
  979 Springdale Road
  Suite 123
  Austin, TX 78723

  US Trustee:
  Office of the U.S. Trustee
  903 San Jacinto Blvd
  Room 230
  Austin, Texas 78701
  Ustpregion07.au.ecf@usdoj.gov

  ECF Notice:

  Lisa C. Fancher on behalf of Creditor 3423 Holdings
  lfancher@fritzbyrne.law

  Shanna M Kaminski on behalf of Interested Party Apex Funding Source, LLC
  skaminski@kaminskilawpllc.com

  John Mark Stern on behalf of Creditor Texas Comptroller of Public Accounts, Revenue
  Accounting Division
  bk-jstern@oag.texas.gov, sherri.simpson@oag.texas.gov

  Eric Terry
  eric@ericterrylaw.com, ebterry@ecf.axosfs.com

  Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
  shane.p.tobin@usdoj.gov, Carolyn.Feinstein@usdoj.gov;gary.wright3@usdoj.gov

  United States Trustee - AU12
  ustpregion07.au.ecf@usdoj.gov

                                                       /s/Robert C. Lane
                                                       Robert C. Lane
